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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

          JOHN DOE,

                       PLAINTIFF

                V.                                 Civ. No. 4:22-cv-01019

          PRAIRIE VIEW A&M
          UNIVERSITY, et al.,

                       DEFENDANTS.

          PLAINTIFF’S CONCISE SUMMARY OF OPPOSITION TO
                 DEFENDANTS’ MOTION TO DISMISS

        In accordance with Judge Hittner’s procedures, Plaintiff submits this summary

of the arguments contained in his Opposition to Defendants’ Motion to Dismiss.

 I.     § 1983 DUE PROCESS CLAIM - ELEVENTH AMENDMENT IMMUNITY

        Plaintiff, who was expelled from Prairie View A&M University, seeks a

declaration that the university violated his due process rights, and an expungement

of his disciplinary record. Defendants argue that the relief sought is retrospective

and thus not subject to the Ex parte Young exception to sovereign immunity.

However, expungement of educational records under these circumstances is a well-

recognized form of prospective relief. See, e.g., Shah v. Univ. of Tex. S.W. Med.

Sch., 129 F. Supp. 3d 480, 496 (N.D. Tex. 2015) (request for declaratory and

injunctive relief that would prevent a university from disseminating information

about a student’s expulsion was “clearly prospective”).


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 II.     DEFENDANTS VIOLATED PLAINTIFF’S DUE PROCESS RIGHTS

         Individually and taken together, the serious procedural irregularities in

Plaintiff’s case denied him due process. Defendants lost or destroyed police

statements that bore directly on the central question of credibility. Then, in a

hearing that turned on the respective credibility of Plaintiff and his roommate, RR,

Defendants relied on the credibility testimony of a witness who repeatedly mixed

Plaintiff and RR up and admitted to “confusion” about who was who. Defendants

also allowed the investigator, who had already formed conclusions about the

outcome of the case, to exercise undue influence over the hearing and possibly

even to participate in deliberations.

III.     DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY

         At a minimum, it is premature for this Court to rule on qualified immunity at

 this stage because there are unanswered questions that could impact Defendants’

 qualified immunity defense. If Defendants’ loss or destruction of the police

 statements was done in bad faith, that would be a clearly established violation of

 Plaintiff’s due process rights. And if the investigator – who was not impartial

 following her investigation – indeed participated in the deliberations, that would

 also be a clearly established violation of Plaintiff’s due process rights. Therefore,

 even if this Court does not deny qualified immunity at this stage, the Court should

 allow discovery that is “narrowly tailored to uncover facts relevant to the


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[qualified immunity] defense.” Webb v. Livingston, 618 Fed. Appx. 201, 206 (5th

Cir. 2015).

IV.     PLAINTIFF HAS SUFFICIENTLY ALLEGED A TITLE IX CLAIM

        Under Title IX, a Plaintiff who alleges an erroneous outcome based on

gender must allege (1) “particular facts sufficient to cast some articulable doubt on

the accuracy of the outcome of the disciplinary proceeding” and (2) a “causal

connection between the flawed outcome and gender bias.” Yusuf v. Vassar Coll.,

35 F.3d 709, 715 (2d Cir. 1994). Allegations of serious procedural irregularities

like the ones made by Plaintiff are sufficient to create articulable doubt. See, e.g.,

Doe v. N. Mich. Univ., 393 F. Supp. 3d 683, 698 (W.D. Mich. 2019) (allegation

that “proceeding was procedurally flawed” was sufficient to create articulable

doubt). With respect to prong (2), Plaintiff has alleged that the pressure generated

by multiple Title IX lawsuits against PVAMU by female complainants led

PVAMU to abandon procedural fairness in his case. This is sufficient to create an

inference of gender bias at this stage. See, e.g., Vengalattore v. Cornell Univ., 2022

U.S. App. LEXIS 15174, *43 (2d Cir. June 2, 2022) (internal citations omitted)

(“when there are ‘clear procedural irregularities in a university’s response to

allegations of sexual misconduct’ we have concluded that ‘even minimal evidence

of sex-based pressure on the university is sufficient’ to permit a plausible

inference” of gender bias).


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